                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND


 NU-LOOK HOME DESIGN, INC.,
 7134 Columbia Gateway Drive, Suite 150,
 Columbia, Maryland 21046,

                                   Plaintiff,                 Civil Action No.:
                                                             1:21-cv-02925-RDB
                     - vs -

 ADAM MULVANEY,
 8396 Spruce Street,
 Manassas, Virginia 20111,
                                   Defendant.


                         Adam Mulvaney’s counterclaim

      Adam Mulvaney, by his counsel and pursuant to Fed. R. Civ. P. 13(a),

asserts this counterclaim against Nu-Look Home Design, Inc. and in support

thereof, states the following:

                                         Parties

      1.     Adam Mulvaney is an individual residing in Virginia.

      2.     Upon information and belief, Nu-Look is a Maryland corporation with

its principal place of business in Maryland.

                                 Jurisdiction and venue

      3.     This Court has subject matter jurisdiction over this counterclaim based

on its original diversity jurisdiction established by Nu-Look’s complaint against Mr.

Mulvaney.

      4.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).
                                 Factual allegations

      5.      Mr. Mulvaney most recently worked at Nu-Look, a roofing contractor,

from February 2020 until March 2021.

      6.      Following his separation from Nu-Look, Mr. Mulvaney began working

for another roofing company.

      7.      Nu-Look has maintained that Mr. Mulvaney is working in violation of

a restrictive covenant that states “Employee shall not, directly or indirectly, in

substantially the same role or capacity as Employee worked for the Company, work

for or provide services with respect to any person or entity engaged in a business

that provides home improvement services and/or products.”

      8.      Mr. Mulvaney has explained to Nu-Look that his employment is not “in

substantially the same role or capacity” as his employment at Nu-Look.

      9.      Nu-Look nevertheless maintains that Mr. Mulvaney is working in

violation of his restrictive covenant, and has demanded that he resign his current

employment.

                          Count I: Declaratory judgment

      10.     Mr. Mulvaney re-alleges and incorporates by reference herein all the

allegations contained in paragraphs 1 through 9.

      11.     Mr. Mulvaney maintains that he is not working in violation of the

restrictive covenant, while Nu-Look maintains that Mr. Mulvaney is working in

violation of the restrictive covenant.


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        12.   An actual and immediate controversy thus exists between Mr.

Mulvaney and Nu-Look with respect to whether Mr. Mulvaney’s employment is in

violation of the restrictive covenant.

        13.   Mr. Mulvaney is entitled to a determination pursuant to 28 U.S.C. §

2201.

        WHEREFORE, Mr. Mulvaney respectfully requests that this Court enter an

Order declaring that his employment is not in violation of the restrictive covenant.

Dated: November 15, 2021                       Respectfully submitted,


                                               /s/ Leslie Paul Machado
                                               Leslie Paul Machado (Bar No. 14952)
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                                               Counsel for Adam Mulvaney




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                               Certificate of service

      I hereby certify that on this 15th day of November 2021, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system and that I

separately sent a copy to the following counsel of record via electronic mail:

             Brian D. Lyman
             Michael G. Von Sas
             Hillman, Brown and Darrow, PA
             221 Duke of Gloucester Street,
             Annapolis, Maryland 21401

                                                /s/ Leslie Paul Machado
                                                Leslie Paul Machado




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